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                                       UNITED STATES BANKRUPTCY COURT
                                                Northern DISTRICT OF Illinois
                                                             Eastern Division


In Re. Town and Country Partners LLC                                §                   Case No. 21-08430
                                                                    §
                                                                    §
                      Debtor(s)                                     §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 08/31/2022                                                        Petition Date: 07/14/2021

Months Pending: 14                                                                        Industry Classification:    5   3   1   1

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   2



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ Kenneth M. Thomas                                                        Kenneth M. Thomas
Signature of Responsible Party                                               Printed Name of Responsible Party
09/23/2022
Date
                                                                             200 W Madison St, Suite 3000 Chicago, IL 60606
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

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Part 1: Cash Receipts and Disbursements                                           Current Month            Cumulative

a.   Cash balance beginning of month                                                         $216,268
b.   Total receipts (net of transfers between accounts)                                       $37,928                 $9,908,608
c.   Total disbursements (net of transfers between accounts)                                         $0                $936,785
d.   Cash balance end of month (a+b-c)                                                       $254,195
e.   Disbursements made by third party for the benefit of the estate                                 $0               $8,715,917
f.   Total disbursements for quarterly fee calculation (c+e)                                         $0               $9,652,702
Part 2: Asset and Liability Status                                                Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                              $569,708
b.   Accounts receivable over 90 days outstanding (net of allowance)                         $569,708
c.   Inventory       ( Book        Market      Other      (attach explanation))                      $0
d    Total current assets                                                                            $0
e.   Total assets                                                                            $792,245
f.   Postpetition payables (excluding taxes)                                                         $0
g.   Postpetition payables past due (excluding taxes)                                                $0
h.   Postpetition taxes payable                                                                      $0
i.   Postpetition taxes past due                                                                     $0
j.   Total postpetition debt (f+h)                                                                   $0
k.   Prepetition secured debt                                                              $1,868,303
l.   Prepetition priority debt                                                                       $0
m. Prepetition unsecured debt                                                                $485,917
n.   Total liabilities (debt) (j+k+l+m)                                                    $2,354,219
o.   Ending equity/net worth (e-n)                                                        $-1,561,974

Part 3: Assets Sold or Transferred                                                Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                              $0               $9,165,000
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                         $0                $798,728
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                        $0               $8,366,272

Part 4: Income Statement (Statement of Operations)                                Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                              $190
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                   $0
c.   Gross profit (a-b)                                                                            $190
d.   Selling expenses                                                                                $0
e.   General and administrative expenses                                                           $0
f.   Other expenses                                                                          $-37,801
g.   Depreciation and/or amortization (not included in 4b)                                           $0
h.   Interest                                                                                        $0
i.   Taxes (local, state, and federal)                                                               $0
j.   Reorganization items                                                                            $0
k.   Profit (loss)                                                                            $37,991                 $2,551,689


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Part 5: Professional Fees and Expenses

                                                                                  Approved       Approved       Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
a.     Debtor's professional fees & expenses (bankruptcy) Aggregate Total

       Itemized Breakdown by Firm
                Firm Name                         Role
       i
       ii
       iii
       iv
       v
       vi
       vii
       viii
       ix
       x
       xi
       xii
       xiii
       xiv
       xv
       xvi
       xvii
       xviii
       xix
       xx
       xxi
       xxii
       xxiii
       xxiv
       xxv
       xxvi
       xxvii
       xxviii
       xxix
       xxx
       xxxi
       xxxii
       xxxiii
       xxxiv
       xxxv
       xxxvi


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       xxxvii
       xxxvii
       xxxix
       xl
       xli
       xlii
       xliii
       xliv
       xlv
       xlvi
       xlvii
       xlviii
       xlix
       l
       li
       lii
       liii
       liv
       lv
       lvi
       lvii
       lviii
       lix
       lx
       lxi
       lxii
       lxiii
       lxiv
       lxv
       lxvi
       lxvii
       lxviii
       lxix
       lxx
       lxxi
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       lxxiii
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       xcviii
       xcix
       c
       ci

                                                                                 Approved       Approved       Paid Current       Paid
                                                                               Current Month   Cumulative         Month         Cumulative
b.     Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total

       Itemized Breakdown by Firm
                Firm Name                        Role
       i
       ii
       iii
       iv
       v
       vi
       vii
       viii
       ix
       x
       xi
       xii
       xiii
       xiv


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       xxvii
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       xxix
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         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                          Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                     $0                          $0
c.   Postpetition employer payroll taxes accrued                                                    $0                          $0
d.   Postpetition employer payroll taxes paid                                                       $0                          $0
e.   Postpetition property taxes paid                                                               $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                   $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                      $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)   Yes        No
b.   Were any payments made outside the ordinary course of business           Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                      Yes        No
d.   Are you current on postpetition tax return filings?                      Yes        No
e.   Are you current on postpetition estimated tax payments?                  Yes        No
f.   Were all trust fund taxes remitted on a current basis?                   Yes        No
g.   Was there any postpetition borrowing, other than trade credit?           Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by      Yes        No    N/A
     the court?
i.   Do you have:            Worker's compensation insurance?                 Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                             Casualty/property insurance?                     Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                             General liability insurance?                     Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                  Yes        No
k.   Has a disclosure statement been filed with the court?                    Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                      Yes        No
     set forth under 28 U.S.C. § 1930?




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Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ N. Neville Reid                                                             N. Neville Reid
Signature of Responsible Party                                                  Printed Name of Responsible Party

Trustee                                                                         09/23/2022
Title                                                                           Date




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                                                        Bankruptcy1to50




                                                       Bankruptcy51to100




                                                      NonBankruptcy1to50




                                                     NonBankruptcy51to100




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Cash Flow - 12 Month                                     Document      Page 13 of 27
33 Management
Properties: --Town and Country_04.28.2022 - 6021-6055 Canden Ave, Dixie Dr, McCasland ave Portage, IN 46368
Period Range: Nov 2021 to Aug 2022
Accounting Basis: Cash
GL Account Map: None - use master chart of accounts
Level of Detail: Detail View
Include Zero Balance GL Accounts: No
 Account Account                 Nov           Dec          Jan          Feb          Mar          Apr          May       Jun              Aug
                                                                                                                              Jul 2022                Total
 Number Name                    2021          2021         2022         2022         2022         2022         2022      2022             2022
            Operating
            Income &
            Expense
              Income
     4100      Rent          22,296.00     28,550.00    27,513.00    21,773.01    32,285.85    18,318.28    4,438.00      0.00     0.00     0.00 155,174.14
               Income
     4105      Tenant             0.00          0.00      -900.00      -737.00    -1,154.17      -925.00     -172.00      0.00     0.00     0.00   -3,888.17
               Rental
               Credit
   4111-0      Utility            0.00          0.00      630.00       -485.00      810.67       750.34         0.00      0.00     0.00     0.00    1,706.01
               Income
               General
     4113      RUBS               0.00          0.00         0.00         0.00       50.00        50.00         0.00      0.00     0.00     0.00     100.00
               Income
     4124      Rent               0.00          0.00         0.00         0.00    -2,257.00         0.00        0.00      0.00     0.00     0.00   -2,257.00
               Abatement
     4410      NSF Fees          50.00        -50.00         0.00         0.00         0.00         0.00        0.00     -50.00    0.00    50.00        0.00
               Collected
     4450      Pet Rent          25.00        75.00       125.00       150.00       100.00       125.00         0.00      0.00     0.00     0.00     600.00
               (Recurring)
     4550      Application       70.00        -70.00         0.00         0.00       -40.00       80.00        80.00    -160.00    0.00    40.00        0.00
               Fee
               Income
     4560      Laundry          374.75          0.00         0.00         0.00         0.00       56.00         0.00      0.00     0.00     0.00     430.75
               Income
     4561      Parking          411.00       729.00       709.00       -321.00      805.66       742.35         0.00      0.00     0.00     0.00    3,076.01
               Income
     4570      Section 8          0.00     27,091.00    10,912.00    12,475.00    14,397.00    17,463.00    -1,434.00     0.00     0.00     0.00   80,904.00
               Income
     5680      Late Fee         100.00        -90.00      270.00       -705.00      375.00        75.00      -125.00      0.00     0.00   100.00        0.00
     5700      Miscellaneous 19,532.00       150.00       100.00          0.01         0.00    10,764.00    -2,832.00     0.00     0.00     0.00   27,714.01
               Income
     5707      Key                0.00          0.00       25.00          2.00       23.00        25.00         0.00      0.00     0.00     0.00      75.00
               Income
              Total            42,858.75    56,385.00    39,384.00    32,152.02    45,396.01    47,523.97     -45.00    -210.00    0.00   190.00    263,634.75
              Operating
              Income
              Expense
               Turnover
001-647-000      Turnover         0.00          0.00         0.00         0.00         0.00      247.50         0.00      0.00     0.00     0.00     247.50
                 Expenses
               Total              0.00          0.00         0.00         0.00         0.00      247.50         0.00      0.00     0.00     0.00     247.50
               Turnover
     6200      Pest               0.00          0.00       98.00          0.00         0.00         0.00        0.00      0.00     0.00     0.00      98.00
               Control
               R&M
     6208        Keys -           0.00          0.00      110.00          0.00         0.00         0.00        0.00      0.00     0.00     0.00     110.00
                 R&M


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                                                                                                                            Jul 2022                Total
 Number Name                      2021        2021         2022         2022        2022        2022        2022       2022             2022
     6209        Plumbing           0.00     647.50     12,830.00    16,665.25    7,009.50    1,636.25        0.00   1,232.00    0.00     0.00   40,020.50
                 - R&M
     6211        HVAC -             0.00        0.00     1,125.00         0.00        0.00        0.00        0.00       0.00    0.00     0.00    1,125.00
                 R&M
     6212        Misc -        11,380.63    8,087.45     8,498.52     7,715.00    7,707.70    9,218.00    2,653.75    338.60     0.00     0.00   55,599.65
                 R&M
     6214        Electric -         0.00        0.00         0.00      300.00         0.00        0.00        0.00       0.00    0.00     0.00     300.00
                 R&M
     6216        Roof -             0.00     500.00          0.00         0.00        0.00        0.00        0.00       0.00    0.00     0.00     500.00
                 R&M
     6218        Security/          0.00        0.00     2,680.22         0.00        0.00        0.00        0.00       0.00    0.00     0.00    2,680.22
                 Fire
                 Protection
                 - R&M
     6219        Supplies        519.10     4,376.76     5,267.44     3,067.69    2,644.49    2,450.72     148.65     349.91     0.00     0.00   18,824.76
                 - R&M
     6226        R&M -              0.00        0.00         0.00         0.00        0.00      51.50         0.00       0.00    0.00     0.00      51.50
                 Inspections
                 / Site
                 Visits
     6233        R&M -              0.00        0.00         0.00         0.00     440.00      247.50         0.00       0.00    0.00     0.00     687.50
                 Excess
                 Turnover
                 Expenses
               Total R&M        11,899.73   13,611.71    30,511.18    27,747.94   17,801.69   13,603.97   2,802.40   1,920.51    0.00     0.00    119,899.13
   6206-1      Maintenance          0.00    5,416.67     5,416.67     5,416.67    5,416.67    5,416.67        0.00       0.00    0.00     0.00   27,083.35
               Salary
   6206-2      Maintenance          0.00    1,354.17     1,354.17     1,354.17    1,354.17    1,354.17        0.00       0.00    0.00     0.00    6,770.85
               Salary -
               Benefits &
               Tax
     6231      Turnover             0.00    1,040.00         0.00    15,372.50    6,900.00    2,460.00     700.00        0.00    0.00     0.00   26,472.50
     6232      Turnover             0.00        0.00     2,647.50     9,226.25    6,430.00    1,070.00     180.00        0.00    0.00     0.00   19,553.75
               Cleaning
               Contract
               Services
   6240-3        Fire               0.00        0.00         0.00         0.00    5,590.41        0.00        0.00       0.00    0.00     0.00    5,590.41
                 Monitoring
                 Contract
                 Services
   6240-7        Cleaning           0.00     550.00          0.00         0.00        0.00        0.00        0.00       0.00    0.00     0.00     550.00
                 Contract
                 Services
   6240-8        Snow               0.00        0.00      560.00      7,950.00    1,600.00    1,600.00        0.00       0.00    0.00     0.00   11,710.00
                 Removal
                 Contract
                 Services
               Total                0.00     550.00       560.00      7,950.00    7,190.41    1,600.00        0.00       0.00    0.00     0.00    17,850.41
               Contract
               Services
     6248      Landscaping          0.00        0.00     2,250.00         0.00        0.00        0.00        0.00       0.00    0.00     0.00    2,250.00
     6251      Cleaning             0.00        0.00      357.50          0.00     797.50         0.00        0.00       0.00    0.00     0.00    1,155.00
               Expense
     6252      Postage              0.00      25.80       103.88       124.00       87.45       51.06       85.65        0.00    0.00   126.35     604.19
     6253      Permits &            0.00    1,400.00         0.00         0.00        0.00        0.00        0.00       0.00    0.00     0.00    1,400.00
               Licenses
     6260      Technology           0.00     680.00       353.50       353.50      353.50      353.50         0.00       0.00    0.00     0.00    2,094.00
               Expense


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 Account Account                   Nov          Dec          Jan          Feb          Mar         Apr        May        Jun                 Aug
                                                                                                                             Jul 2022                   Total
 Number Name                      2021         2021         2022         2022         2022        2022       2022       2022                2022
               Administrative
               - Payroll
               Expenses
   6277-1                    12,000.00
                 Administrative                  0.00         0.00         0.00         0.00        0.00       0.00       0.00       0.00     0.00   12,000.00
                 -
                 Manager
                 Salary
               Total          12,000.00          0.00         0.00         0.00         0.00        0.00       0.00       0.00       0.00     0.00    12,000.00
               Administrative
               - Payroll
               Expenses
     6270      Leasing              0.00         0.00      500.00          0.00     3,050.00    1,050.00       0.00       0.00       0.00     0.00    4,600.00
               Commissions
     6271      Lease                0.00         0.00         0.00         0.00         0.00        0.00   2,250.00       0.00       0.00     0.00    2,250.00
               Renewal
               Fee
     6275      Management           0.00    17,351.62    10,746.25     7,500.00     7,500.00    7,500.00   3,185.00       0.00       0.00     0.00   53,782.87
               Fees
     6320      Insurance -      6,556.85      591.00          0.00    12,269.00     3,067.26        0.00       0.00       0.00       0.00     0.00   22,484.11
               Property
     6350      Property             0.00         0.00         0.00         0.00         0.00 365,335.44        0.00       0.00       0.00     0.00 365,335.44
               Tax
     6360      Receiver's           0.00         0.00         0.00      279.00          0.00        0.00       0.00       0.00       0.00     0.00     279.00
               Bond
               Expense
               Utilities
   6410-1        Electricity   11,060.24     1,992.90     1,139.28     1,286.41     3,023.12    2,210.65   2,234.93     362.44     270.85     0.00   23,580.82
                 -
                 Common
   6410-2        Electricity    4,954.90     4,687.12    12,352.19     3,454.52     6,103.37    4,933.06   4,788.28     510.18     224.41     0.00   42,008.03
                 - Vacant
   6420-1        Gas -              0.00      358.61       922.34       243.20       489.01      442.09     457.97       86.08       0.00     0.00    2,999.30
                 Common
     6430        Water              0.00     6,140.88     5,191.19     2,335.82     2,125.05    1,746.25       0.00   1,597.05       0.00     0.00   19,136.24
     6460        Other           -311.00      -712.00      -200.00       -47.00      -342.00     -150.00     -50.00       0.00       0.00     0.00   -1,812.00
                 Utilities
               Total            15,704.14    12,467.51    19,405.00    7,272.95     11,398.55   9,182.05   7,431.18   2,555.75     495.26     0.00    85,912.39
               Utilities
     6450      Garbage          1,000.00      285.48      1,375.24     1,949.96     3,252.18      73.48        0.00     436.80       6.55     0.00    8,379.69
               and
               Recycling
     7480      Bank Fees          15.00        29.50     -1,924.79         5.00         5.00        5.00       0.00       0.00       0.00     0.00   -1,865.29
   7610-1      Legal                0.00    23,043.50         0.00         0.00    56,001.52        0.00       0.00       0.00       0.00     0.00   79,045.02
               Expenses
               (Bankruptcy)
     7615      Accounting           0.00         0.00         0.00         0.00       25.00         0.00       0.00       0.00       0.00     0.00      25.00
               Expenses
     7620      Other                0.00         0.00         0.00         0.00    11,000.00        0.00       0.00       0.00       0.00     0.00   11,000.00
               Professional
               Fees
     7700      Miscellaneous 10,834.59       4,116.24         0.00         0.00         0.00        0.00       0.00 335,987.69       0.00     0.00 350,938.52
               Expense
     7735      Interest             0.00         0.00         0.00         0.00         0.00    7,688.22       0.00       0.00       0.00     0.00    7,688.22
               Expense-
               Other
             Total              58,010.31    81,963.20    73,754.10    96,820.94    141,630.90 416,991.06 16,634.23   340,900.75   501.81   126.35    1,227,333.65
             Operating
             Expense


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            Case 21-08430             Doc 120           Filed 09/23/22 Entered 09/23/22 14:50:12                                Desc Main
Cash Flow - 12 Month                                    Document      Page 16 of 27
 Account Account                  Nov         Dec          Jan         Feb         Mar         Apr           May       Jun                   Aug
                                                                                                                           Jul 2022                    Total
 Number Name                     2021        2021         2022        2022        2022        2022          2022      2022                  2022


             NOI - Net        -15,151.56 -25,578.20 -34,370.10 -64,668.92 -96,234.89 -369,467.09 -16,679.23 -341,110.75        -501.81      63.65 -963,698.90
             Operating
             Income


            Other Income
            & Expense
             Other
             Income
     8500      Sales               0.00        0.00         0.00        0.00        0.00 9,165,000.00        0.00      0.00      0.00         0.00 9,165,000.00
               Proceeds
             Total Other           0.00        0.00         0.00        0.00        0.00    9,165,000.00     0.00      0.00      0.00         0.00    9,165,000.00
             Income
             Other
             Expense
     8001      Depreciation        0.00        0.00         0.00        0.00        0.00 5,246,242.48        0.00      0.00      0.00         0.00 5,246,242.48
               Expense
     8115      Closing             0.00        0.00         0.00        0.00        0.00 426,046.90          0.00      0.00      0.00 -37,927.58 388,119.32
               Costs
             Total Other           0.00        0.00         0.00        0.00        0.00    5,672,289.38     0.00      0.00      0.00     -37,927.58 5,634,361.80
             Expense


             Net Other             0.00        0.00         0.00        0.00        0.00 3,492,710.62        0.00      0.00      0.00    37,927.58 3,530,638.20
             Income


             Total Income     42,858.75   56,385.00    39,384.00   32,152.02   45,396.01 9,212,523.97      -45.00    -210.00     0.00      190.00 9,428,634.75
             Total            58,010.31   81,963.20    73,754.10   96,820.94 141,630.90 6,089,280.44 16,634.23 340,900.75      501.81 -37,801.23 6,861,695.45
             Expense


             Net Income         -15,151.56 -25,578.20 -34,370.10 -64,668.92 -96,234.89 3,123,243.53-16,679.23 -341,110.75 -501.81         37,991.23   2,566,939.30


             Other Items
     1160      Escrow              0.00        0.00         0.00     -800.00     -800.00     -400.00     2,000.00      0.00      0.00         0.00       0.00
               Cash -
               Security
               Deposits
     1191      Old              -355.98     -336.23      692.21         0.00        0.00        0.00         0.00      0.00      0.00         0.00       0.00
               Operating
               Account
   1450-1      Electricity         0.00     -480.00 -12,150.00          0.00        0.00        0.00         0.00      0.00      0.00         0.00 -12,630.00
               Deposit
     1700      Buildings           0.00        0.00         0.00        0.00        0.00 7,280,000.00        0.00      0.00      0.00         0.00 7,280,000.00
     1716      Accumulated         0.00        0.00         0.00        0.00        0.00 -165,455.00         0.00      0.00      0.00         0.00 -165,455.00
               Depreciation
     2101      Security            0.00        0.00         0.00     800.00      800.00    -1,600.00         0.00      0.00      0.00         0.00       0.00
               Deposits
     2120      Clearing            0.00        0.00         0.00        0.00        0.00    2,000.00     -2,000.00     0.00      0.00         0.00       0.00
               Account
     2300      Prepaid         1,005.00    4,422.00      -246.99     615.99     7,091.07 -12,887.07          0.00      0.00      0.00         0.00       0.00
               Rent
     2700      Mortgage            0.00 2,267,860.00        0.00        0.00        0.00 -9,467,860.00       0.00      0.00      0.00         0.00 -7,200,000.00
     2806      Loan -              0.00 148,974.81          0.00   59,885.19        0.00 -208,860.00         0.00      0.00      0.00         0.00       0.00
               Postpetition
               Advance



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            Case 21-08430              Doc 120           Filed 09/23/22 Entered 09/23/22 14:50:12                               Desc Main
Cash Flow - 12 Month                                     Document      Page 17 of 27
 Account Account                   Nov        Dec           Jan         Feb         Mar        Apr           May     Jun                   Aug
                                                                                                                         Jul 2022                     Total
 Number Name                      2021       2021          2022        2022        2022       2022          2022    2022                  2022
     3150      Owner        13,464.00      1,000.00          0.00        0.00       0.00 166,908.91          0.00     0.00       0.00       0.00 181,372.91
               Contribution
     3250      Owner          -13,464.00       0.00          0.00        0.00       0.00 -166,908.91         0.00     0.00       0.00       0.00 -180,372.91
               Distribution
     3301      Opening             0.00 -2,267,860.00        0.00        0.00       0.00       0.00          0.00     0.00       0.00       0.00 -2,267,860.00
               Net Income
             Net Other           649.02    153,580.58 -11,704.78 60,501.18       7,091.07   -2,575,062.07    0.00     0.00       0.00       0.00    -2,364,945.00
             Items


            Cash Flow           -14,502.54 128,002.38 -46,074.88 -4,167.74       -89,143.82 548,181.46 -16,679.23 -341,110.75 -501.81   37,991.23   201,994.30


            Beginning          7,913.17    -6,589.37 121,413.01     75,338.13   71,170.39 -17,973.43 530,208.03 513,528.80 172,418.05 171,916.24    7,913.17
            Cash
            Beginning          -6,589.37 121,413.01     75,338.13   71,170.39 -17,973.43 530,208.03 513,528.80 172,418.05 171,916.24 209,907.47 209,907.47
            Cash + Cash
            Flow
            Actual Ending      -6,589.37 121,413.01     75,338.13   71,170.39 -17,973.43 530,208.03 513,528.80 172,418.05 171,916.24 209,907.47 209,907.47
            Cash




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              Case 21-08430      Doc 120     Filed 09/23/22 Entered 09/23/22 14:50:12                Desc Main
Balance Sheet                                Document      Page 18 of 27
Properties: --Town and Country_04.28.2022 - 6021-6055 Canden Ave, Dixie Dr, McCasland ave Portage, IN 46368
As of: 08/31/2022
Accounting Basis: Cash
GL Account Map: None - use master chart of accounts
Level of Detail: Detail View
Include Zero Balance GL Accounts: No
Account Name                                                                                                       Balance
ASSETS
Cash
  Cash in Bank                                                                                                    254,195.08
  Cash - Operating Expense                                                                                         -44,287.61
Total Cash                                                                                                        209,907.47
Accounts Receivable                                                                                               569,708.00
Utility-Deposits
  Electricity Deposit                                                                                              12,630.00
Total Utility-Deposits                                                                                             12,630.00
TOTAL ASSETS                                                                                                      792,245.47




LIABILITIES & CAPITAL
Liabilities
  Loan - Due to Related Party                                                                                     935,000.00
Total Liabilities                                                                                                 935,000.00
Capital
  Owner Contribution                                                                                              181,372.91
  Owner Distribution                                                                                              -180,372.91
  Opening Net Income                                                                                          -2,710,693.83
  Calculated Retained Earnings                                                                                   2,566,939.30
Total Capital                                                                                                     -142,754.53
TOTAL LIABILITIES & CAPITAL                                                                                       792,245.47




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           Case 21-08430              Doc 120        Filed 09/23/22 Entered 09/23/22 14:50:12        Desc Main
Aged Receivable Detail                               Document      Page 19 of 27
Properties: --Town and Country_04.28.2022 - 6021-6055 Canden Ave, Dixie Dr, McCasland ave Portage, IN 46368
Amount Receivable: Exclude 0.00
Tenant Status: All
As of: 08/31/2022
GL Account Map: None - use master chart of accounts
Unit       Tenant        Charge     GL                              Amount
                                                 Total Amount                   0-30      31-60          61-90        91+
Name       Status         Date      Account                       Receivable
 2391-B
2391-B     Past         12/01/2021 6460 -                50.00           8.00   0.00        0.00              0.00     8.00
                                   Other
                                   Utilities

 2397-B
2397-B     Past         11/06/2021 5680 -                75.00          75.00   0.00        0.00              0.00    75.00
                                   Late Fee
2397-B     Past         12/06/2021 5680 -                75.00          75.00   0.00        0.00              0.00    75.00
                                   Late Fee
2397-B     Past         01/01/2022 4100 -               805.00          76.00   0.00        0.00              0.00    76.00
                                   Rent
                                   Income
2397-B     Past         01/06/2022 5680 -                75.00          75.00   0.00        0.00              0.00    75.00
                                   Late Fee
2397-B     Past         02/02/2022 6410-2 -              52.02          52.02   0.00        0.00              0.00    52.02
                                   Electricity
                                   - Vacant
                                                       1,082.02        353.02   0.00        0.00              0.00   353.02

 2400-A
2400-A     Past         11/01/2021 4100 -               478.83         238.83   0.00        0.00              0.00   238.83
                                   Rent
                                   Income
2400-A     Past         11/01/2021 4561 -                50.00          50.00   0.00        0.00              0.00    50.00
                                   Parking
                                   Income
2400-A     Past         11/01/2021 6460 -                50.00          50.00   0.00        0.00              0.00    50.00
                                   Other
                                   Utilities
2400-A     Past         11/30/2021 4100 -               366.17         366.17   0.00        0.00              0.00   366.17
                                   Rent
                                   Income
2400-A     Past         12/01/2021 4100 -               845.00         845.00   0.00        0.00              0.00   845.00
                                   Rent
                                   Income
2400-A     Past         12/01/2021 4561 -                50.00          50.00   0.00        0.00              0.00    50.00
                                   Parking
                                   Income
2400-A     Past         12/01/2021 6460 -                50.00          50.00   0.00        0.00              0.00    50.00
                                   Other
                                   Utilities
2400-A     Past         12/06/2021 5680 -                75.00          75.00   0.00        0.00              0.00    75.00
                                   Late Fee
2400-A     Past         01/01/2022 4100 -               845.00         845.00   0.00        0.00              0.00   845.00
                                   Rent
                                   Income
2400-A     Past         01/01/2022 4561 -                50.00          50.00   0.00        0.00              0.00    50.00
                                   Parking
                                   Income
2400-A     Past         01/01/2022 4111-0 -              50.00          50.00   0.00        0.00              0.00    50.00
                                   Utility
                                   Income
                                   General


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           Case 21-08430              Doc 120      Filed 09/23/22 Entered 09/23/22 14:50:12   Desc Main
Aged Receivable Detail                             Document      Page 20 of 27
Unit       Tenant        Charge     GL                            Amount
                                               Total Amount                   0-30   31-60      61-90        91+
Name       Status         Date      Account                     Receivable
2400-A     Past         01/06/2022 5680 -              75.00          75.00   0.00    0.00       0.00       75.00
                                   Late Fee
2400-A     Past         02/01/2022 4100 -             845.00         845.00   0.00    0.00       0.00      845.00
                                   Rent
                                   Income
2400-A     Past         02/01/2022 4561 -              50.00          50.00   0.00    0.00       0.00       50.00
                                   Parking
                                   Income
2400-A     Past         02/01/2022 4111-0 -            50.00          50.00   0.00    0.00       0.00       50.00
                                   Utility
                                   Income
                                   General
2400-A     Past         02/06/2022 5680 -              75.00          75.00   0.00    0.00       0.00       75.00
                                   Late Fee
2400-A     Past         03/01/2022 4100 -             845.00         845.00   0.00    0.00       0.00      845.00
                                   Rent
                                   Income
2400-A     Past         03/01/2022 4561 -              50.00          50.00   0.00    0.00       0.00       50.00
                                   Parking
                                   Income
2400-A     Past         03/01/2022 4111-0 -            50.00          50.00   0.00    0.00       0.00       50.00
                                   Utility
                                   Income
                                   General
2400-A     Past         03/06/2022 5680 -              75.00          75.00   0.00    0.00       0.00       75.00
                                   Late Fee
2400-A     Past         05/12/2022 6212 -             495.00         495.00   0.00    0.00       0.00      495.00
                                   Misc -
                                   R&M
                                                     5,520.00      5,280.00   0.00    0.00       0.00     5,280.00

 6021-2
6021-2     Past         03/01/2022 4100 -              12.90          12.90   0.00    0.00       0.00       12.90
                                   Rent
                                   Income
6021-2     Past         03/01/2022 4570 -              14.93          14.93   0.00    0.00       0.00       14.93
                                   Section 8
                                   Income
                                                       27.83          27.83   0.00    0.00       0.00       27.83

 6025-6
6025-6     Past         11/01/2021 4561 -              50.00          50.00   0.00    0.00       0.00       50.00
                                   Parking
                                   Income
6025-6     Past         11/01/2021 6460 -              50.00          50.00   0.00    0.00       0.00       50.00
                                   Other
                                   Utilities
6025-6     Past         11/19/2021 4100 -             845.00         770.00   0.00    0.00       0.00      770.00
                                   Rent
                                   Income
                                                      945.00         870.00   0.00    0.00       0.00      870.00

 6041-2
6041-2     Past         02/01/2022 4100 -            1,070.00        174.00   0.00    0.00       0.00      174.00
                                   Rent
                                   Income
6041-2     Past         02/06/2022 5680 -              75.00          75.00   0.00    0.00       0.00       75.00
                                   Late Fee
6041-2     Past         04/11/2022 6232 -             210.00         210.00   0.00    0.00       0.00      210.00
                                   Turnover


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           Case 21-08430            Doc 120       Filed 09/23/22 Entered 09/23/22 14:50:12   Desc Main
Aged Receivable Detail                            Document      Page 21 of 27
Unit       Tenant        Charge    GL                            Amount
                                              Total Amount                   0-30   31-60      61-90        91+
Name       Status         Date     Account                     Receivable
                                   Cleaning
                                                    1,355.00        459.00   0.00    0.00       0.00      459.00

 6041-4
6041-4     Past         02/01/2022 4100 -           1,045.00        969.00   0.00    0.00       0.00      969.00
                                   Rent
                                   Income
6041-4     Past         04/13/2022 6233 -            165.00         165.00   0.00    0.00       0.00      165.00
                                   R&M -
                                   Excess
                                   Turnover
                                   Expenses
                                                    1,210.00      1,134.00   0.00    0.00       0.00     1,134.00

 6081-C
6081-C     Past         04/18/2022 6233 -            192.50         192.50   0.00    0.00       0.00      192.50
                                   R&M -
                                   Excess
                                   Turnover
                                   Expenses

 6101-A
6101-A     Past         04/11/2022 6212 -            330.00         330.00   0.00    0.00       0.00      330.00
                                   Misc -
                                   R&M
6101-A     Past         04/11/2022 6212 -            316.25         316.25   0.00    0.00       0.00      316.25
                                   Misc -
                                   R&M
                                                     646.25         646.25   0.00    0.00       0.00      646.25



Total                                              11,028.60      8,970.60   0.00    0.00       0.00     8,970.60




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           Case 21-08430                Doc 120   Filed 09/23/22 Entered 09/23/22 14:50:12                   Desc Main
Income Statement                                  Document      Page 22 of 27
33 Management
Properties: --Town and Country_04.28.2022 - 6021-6055 Canden Ave, Dixie Dr, McCasland ave Portage, IN 46368
As of: Aug 2022
Accounting Basis: Cash
GL Account Map: None - use master chart of accounts
Level of Detail: Detail View
Include Zero Balance GL Accounts: No
Account Name                                  Selected Month    % of Selected Month    Year to Month End % of Year to Month End
Operating Income & Expense
  Income
    Rent Income                                          0.00                   0.00            155,174.14                 58.86
    Tenant Rental Credit                                 0.00                   0.00             -3,888.17                 -1.47
    Utility Income General                               0.00                   0.00              1,706.01                  0.65
    RUBS Income                                          0.00                   0.00               100.00                   0.04
    Rent Abatement                                       0.00                   0.00             -2,257.00                 -0.86
    NSF Fees Collected                                  50.00                  26.32                  0.00                  0.00
    Pet Rent (Recurring)                                 0.00                   0.00               600.00                   0.23
    Application Fee Income                              40.00                  21.05                  0.00                  0.00
    Laundry Income                                       0.00                   0.00               430.75                   0.16
    Parking Income                                       0.00                   0.00              3,076.01                  1.17
    Section 8 Income                                     0.00                   0.00             80,904.00                 30.69
    Late Fee                                           100.00                  52.63                  0.00                  0.00
    Miscellaneous Income                                 0.00                   0.00             27,714.01                 10.51
    Key Income                                           0.00                   0.00                 75.00                  0.03
  Total Operating Income                               190.00                 100.00            263,634.75                100.00
  Expense
    Turnover
      Turnover Expenses                                  0.00                   0.00               247.50                   0.09
    Total Turnover                                       0.00                   0.00               247.50                   0.09
    Pest Control                                         0.00                   0.00                 98.00                  0.04
    R&M
      Keys - R&M                                         0.00                   0.00               110.00                   0.04
      Plumbing - R&M                                     0.00                   0.00             40,020.50                 15.18
      HVAC - R&M                                         0.00                   0.00              1,125.00                  0.43
      Misc - R&M                                         0.00                   0.00             55,599.65                 21.09
      Electric - R&M                                     0.00                   0.00               300.00                   0.11
      Roof - R&M                                         0.00                   0.00               500.00                   0.19
      Security/Fire Protection - R&M                     0.00                   0.00              2,680.22                  1.02
      Supplies - R&M                                     0.00                   0.00             18,824.76                  7.14
      R&M - Inspections / Site Visits                    0.00                   0.00                 51.50                  0.02
      R&M - Excess Turnover                              0.00                   0.00               687.50                   0.26
      Expenses
    Total R&M                                            0.00                   0.00            119,899.13                 45.48
    Maintenance Salary                                   0.00                   0.00             27,083.35                 10.27
    Maintenance Salary - Benefits &                      0.00                   0.00              6,770.85                  2.57
    Tax
    Turnover                                             0.00                   0.00             26,472.50                 10.04
    Turnover Cleaning                                    0.00                   0.00             19,553.75                  7.42




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Income Statement                               Document      Page 23 of 27
Account Name                               Selected Month     % of Selected Month     Year to Month End % of Year to Month End
    Contract Services
      Fire Monitoring Contract                        0.00                    0.00               5,590.41                   2.12
      Services
      Cleaning Contract Services                      0.00                    0.00                550.00                    0.21
      Snow Removal Contract                           0.00                    0.00              11,710.00                   4.44
      Services
    Total Contract Services                           0.00                    0.00              17,850.41                   6.77
    Landscaping                                       0.00                    0.00               2,250.00                   0.85
    Cleaning Expense                                  0.00                    0.00               1,155.00                   0.44
    Postage                                         126.35                   66.50                604.19                    0.23
    Permits & Licenses                                0.00                    0.00               1,400.00                   0.53
    Technology Expense                                0.00                    0.00               2,094.00                   0.79
    Administrative - Payroll
    Expenses
      Administrative - Manager Salary                 0.00                    0.00              12,000.00                   4.55
    Total Administrative - Payroll                    0.00                    0.00              12,000.00                   4.55
    Expenses
    Leasing Commissions                               0.00                    0.00               4,600.00                   1.74
    Lease Renewal Fee                                 0.00                    0.00               2,250.00                   0.85
    Management Fees                                   0.00                    0.00              53,782.87                 20.40
    Insurance - Property                              0.00                    0.00              22,484.11                   8.53
    Property Tax                                      0.00                    0.00             365,335.44                138.58
    Receiver's Bond Expense                           0.00                    0.00                279.00                    0.11
    Utilities
      Electricity - Common                            0.00                    0.00              23,580.82                   8.94
      Electricity - Vacant                            0.00                    0.00              42,008.03                 15.93
      Gas - Common                                    0.00                    0.00               2,999.30                   1.14
      Water                                           0.00                    0.00              19,136.24                   7.26
      Other Utilities                                 0.00                    0.00              -1,812.00                  -0.69
    Total Utilities                                   0.00                    0.00              85,912.39                 32.59
    Garbage and Recycling                             0.00                    0.00               8,379.69                   3.18
    Bank Fees                                         0.00                    0.00              -1,865.29                  -0.71
    Legal Expenses (Bankruptcy)                       0.00                    0.00              79,045.02                 29.98
    Accounting Expenses                               0.00                    0.00                  25.00                   0.01
    Other Professional Fees                           0.00                    0.00              11,000.00                   4.17
    Miscellaneous Expense                             0.00                    0.00             350,938.52                133.12
    Interest Expense-Other                            0.00                    0.00               7,688.22                   2.92
  Total Operating Expense                           126.35                   66.50           1,227,333.65                465.54


  NOI - Net Operating Income                         63.65                   33.50            -963,698.90                -365.54


Other Income & Expense
  Other Income
    Sales Proceeds                                    0.00                    0.00           9,165,000.00               3,476.40
  Total Other Income                                  0.00                    0.00           9,165,000.00               3,476.40
  Other Expense
    Depreciation Expense                              0.00                    0.00           5,246,242.48               1,989.97
    Closing Costs                                -37,927.58              -19,961.88            388,119.32                147.22


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Income Statement                     Document      Page 24 of 27
Account Name                     Selected Month     % of Selected Month     Year to Month End % of Year to Month End
  Total Other Expense                  -37,927.58              -19,961.88          5,634,361.80               2,137.18


  Net Other Income                      37,927.58               19,961.88          3,530,638.20               1,339.22


  Total Income                            190.00                  100.00           9,428,634.75               3,576.40
  Total Expense                        -37,801.23              -19,895.38          6,861,695.45               2,602.73


  Net Income                            37,991.23               19,995.38          2,566,939.30                973.67




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                                                      Document      Page 25 of 27     Statement Period   Account #
                                                                                                            08/01/2022 thru 08/31/2022

                                                                                                                                     Days In Statement Period
                                                                                                                                                    31




 TOWN COUNTRY PARTNERS LLC, DEBTOR
 N NEVILLE REID, TRUSTEE
 CASE #21-08430
 200 WEST MADISON
 SUITE 3000
 CHICAGO IL 60606




          Statement Summary
Deposit Accounts                                                 Beginning Balance                     Credits                        Debits             Ending Balance
Trustee Checking                                                     $216,267.50                   $37,927.58                         $0.00               $254,195.08
DEPOSIT TOTALS                                                       $216,267.50                   $37,927.58                         $0.00               $254,195.08


          Trustee Checking -
                                                                                                                              Beginning Balance           $216,267.50
Date               Description                                                                                                           Credits                Debits
08/23              MyDeposit                                                                                                         $3,087.47
08/23              MyDeposit                                                                                                       $34,840.11
                                                                                                                                Ending Balance            $254,195.08


          Interest Earned
                                 Interest Earned this Month                $0.00                                 Annual Percentage Yield Earned                 0.00%
                                       Average Daily Ledger          $227,278.73                                         Average Daily Collected          $226,055.26
*The interest posted on this statement reflects interest earned during the prior statement cycle. This is the process for interest posting for all statement
cycles moving forward. This applies to Rewards Checking Accounts only.


          Fees
                                 Total For This Period        Total Year-to-Date
        Total Overdraft Fees                      $0.00                      $0.00                                              Maintenance Fee                   $0.00
   Total Returned Item Fees                       $0.00                      $0.00                                               Service Charge                   $0.00




                                                                                                                                                         Page 1 of 2
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           ADDENDUM TO AUGUST 2022 MONTHLY OPERATING REPORT OF
                      TOWN & COUNTRY PARTNERS LLC

          N. Neville Reid, not individually, but solely as the Chapter 11 Trustee for the bankruptcy

estate of Town and Country Partners LLC (“T&C”) signed the attached Monthly Operating

Report (“MOR”) for August 2022 which necessarily relies upon and assumes the accuracy of

T&C’s filed July 2021 MOR at Dkt. 32 and T&C’s balance sheets, income statements, and all

other backup documents provided to the Trustee to complete this MOR.

          As it relates to question 7(d) of the MOR, the Trustee has sought an extension of certain

tax return filing deadlines as we await tax returns from the previous year from the Debtor.

          As it relates to question 7(e) of the MOR, the Trustee is not aware of any postpetition

estimated tax payments that are outstanding but is continuing to consult his professionals to

determine if any postpetition estimated tax payments are outstanding.

          As it relates to question 7(f) of the MOR, the Trustee is not aware of any unpaid trust

fund taxes that are outstanding but is continuing to consult his professionals to determine if any

postpetition estimated tax payments are outstanding.

          If the Trustee uncovers information that would result in a change to any of the answers on

the MORs, amended MORs will be filed.




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